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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                           Case No. 1:15cr16-MW/GRJ

MEREDITH DEVONTE THOMAS,

      Defendant.
                                 /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 41, to which there has been no timely objections, and subject to

this Court’s consideration of the plea agreement pursuant to Fed.R.Crim.P.

11(e)(2), the plea of guilty of the Defendant to Count One of the Indictment

against him is hereby ACCEPTED. All parties shall appear before this court for

sentencing as directed.

      SO ORDERED on September 21, 2015.

                                            s/Mark E. Walker
                                            United States District Judge
